UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF WISCONSIN

Case No. 23-20506
Judge: KMP
Chapter 13

In Re, Sean T. Hoskins

Debtor(s)

DEBTOR’S MOTION TO CONTINUE THE AUTOMATIC STAY AS TO ALL

CREDITORS

Debtor, by his attorney Lombardo Law Office, hereby move the Court, pursuant to 11

U.S.C. § 362(c)(3)(B), for an Order continuing the Automatic Stay, as to all creditors in this case,

that is scheduled to terminate on March 8, 2023. In support hereof, the Debtor states as follows:

1.

2.

This case, filed February 8, 2023, is a case under Chapter 13 of the Bankruptcy Code.
Prior to the current case, the Debtor filed for relief under Chapter 13 of the Bankruptcy
Code on September 4, 2020, case number 20-26098-kmp. That case was dismissed on
August 18, 2022, pursuant to a motion filed by the Trustee.

The reason why the Debtor’s previous Chapter 13 failed is because the Debtor and his
wife filed for divorce on April 28, 2021 and shortly thereafter the Debtor moved out of
their residence, which reduced the Debtor’s monthly household take home income by
over $3,100.00 and he had to incur the unexpected expenses of finding his own residence
and furnishing it. In addition, the mental stress of losing a marriage of 18 years made
focusing on my other financial responsibilities extremely difficult for the Debtor, all of
which made completion of the Debtor’s previous Chapter 13 case impossible, as
indicated in the Debtor’s Affidavit, which is attached as an Exhibit and incorporated

hereto.

Lombardo Law Office
2230 South 108" Street
Milwaukee, WI 53227
Phone: (414) 543-3328
Fax: (414) 543-0786

Case 23-20506-kmp Docs Filed 02/09/23 Page1of/7
4. As indicated in the Debtor’s affidavit, the Debtor’s divorce was final on February 4,
2022, and the Debtor has established his own household which has stabilized his financial
situation. In addition, the Debtor has come to grips mentally and emotionally with the
dissolution of my marriage of 18 years and is able to focus on his financial
responsibilities going forward.

5. The Debtor believes that now that he is no longer dealing with the emotional and the

financial consequences of going through a divorce, he will have sufficient income to

meet his household’s monthly living expenses as well as sufficient income to submit
$698.00 per month to the Chapter 13 Trustee through weekly payroll deductions for the
benefit of his creditors.

6. The Debtor therefore asserts that he has had a substantial change in his personal and
financial circumstances since the dismissal of his previous case, such that the present case
was in fact filed in good faith.

WHEREFORE, the Debtor request that the Court enter an order continuing the automatic
stay under 11 U.S.C. § 362 as to all of the creditors contained in the Debtor’s petition and

schedules.

Respectfully submitted,

/s/ Adam L. Lombardo

By:
Adam Lombardo
February 8, 2023
Date:
Lombardo Law Office

2230 South 108" Street
Milwaukee, WI 53227
Phone: (414) 543-3328
Fax: (414) 543-0786

Case 23-20506-kmp Docs Filed 02/09/23 Page 2of7
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF WISCONSIN

In re:

Sean Hoskins _ Case Number: 23-20506 KMP
Chapter:13
Debtor(s).
Address: 4131_N 68 Street Milwaukee, WI 53218
Last four digits of Social Security or Objection to Motion
Individual Taxpayer Identification to Continue Stay Due
(ITIN) No(s)., Gf any): 2535 (Uf served by mail,
add three days to
Employer’s Tax Identification (EIN) No(s). (if any): objection deadline
per Rule 9006(f)):

2/28/23

Hearing on Timely-
Filed Objections:
3/7/23 11:30am

NOTICE OF MOTION TO CONTINUE THE AUTOMATIC STAY

To all creditors and parties in interest:

The debtor(s) in the above-captioned case (the “debtor”) has filed a motion to continue the automatic stay
pursuant to 11 U.S.C. Sec. 362(c)(3)(B). A copy of that motion accompanies this notice.

Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if
you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

_Ifyou do not want the Court to grant the metion to continue the automatic stay, or if you want the Court to consider
your views on the motion, then on or before the objection due date stated above, you or your attorney must file an

ebjecworiwsitht Clerk, United States Bankruptcy Court

517 East Wisconsin Avenue
Milwaukee, WI 53202-4581

and provide copies to: Adam L. Lombardo, Lombardo Law Office
2230 South 108" Street
Milwaukee, WI 53227

in time for its receipt by the above deadline. If you or your attorney do not take these steps, the Court may decide that
you do not oppose the relief sought in the motion and may enter an order granting that relief.

The hearing noted above will be held unless the Court cancels it or issues an order fully adjudicating the motion before
the hearing.

The Court will hold a hearing on any timely-filed objection. The Court also will hold a hearing in the absence of an
objection unless the debtor files an affidavit or declaration that provides an adequate evidentiary basis for concluding
that the debtor has met their burden to prove they commenced this case in good faith as required by 11 U.S.C. Sec.
362(c)(3)(B). If there is no timely objection and the Court finds an adequate evidentiary basis, the Court may cancel the hearing
and adjudicate the motion based on the debtor’s submissions.

The hearing will take place before Judge Katherine M. Perhach United States Bankruptcy Judge, in the United
States Courthouse at 517 East Wisconsin Avenue, Milwaukee, Wisconsin, in Room 167 at the hearing time and date
stated above.

The debtor, debtor’s counsel, and the objecting party or their counsel must attend the hearing.

Date: 2/9/2023 /s/ Adam L. Lombardo
Attorney for Debtor

Case 23-20506-kmp Docs Filed 02/09/23 Page 3of7
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF WISCONSIN

Case No. 23-20506
Judge: KMP
Chapter 13
In Re, Sean Hoskins

Debtor(s)

CERTIFICATE OF SERVICE

The undersigned, Wendi Lombardo of Lombardo Law Office, does hereby certify
that a copy of this Certificate of Service and a copy of the attached Motion to Continue
Automatic Stay and Notice of Motion to Continue Automatic Stay were mailed First
Class to the persons and entities listed below, at their respective addresses, postage
prepaid, by depositing them in the U.S. Mail at Milwaukee, WI on February 9, 2023:

Sean Hoskins 4131 N 68 Street Milwaukee, WI 53218

SEE ATTACHED MAILING MATRIX

However, copies have not been mailed to addresses which the Court designated as having
been superseded by a preferred address on file, or which the Court designated as
undeliverable or duplicate addresses, as indicated in the mailing matrix.

In addition, copies have not been mailed to Lombardo Law Office, attorneys for the
Debtors, or to the following parties, to whom service was made by ECF Notice of

Electronic Filing:

Scott Lieske, Chapter 13 Trustee
Office of the United States Trustee

Dated this 9" day of February 2023.

/s/

By: -
Wendi Lombardo

Lombardo Law Office

2230 South 108" Street
Milwaukee, WI 53227
Phone: (414) 543-3328
Fax: (414) $43-0786

Case 23-20506-kmp Docs _ Filed 02/09/23 Page 4of7
«

abel Matrix for local noticing
157-2

ase 23-20506-kmp

astern District of Wisconsin
ilwaukee

w Feb 9 11:03:18 CST 2023

isconsin Department Of Revenue
yecial Procedures Unit

.0. Box 8901

adison, WI 53708-8901

[aT Mobility
) Box 3517
Loomington, IL 61702-3517

wericash Loans
228 W Capitol Drive.
ilwaukee, WI 53222-1533

cidgecrest Acceptance Corp
)20 E, Indian School Rd.
aoenix, AZ 85018-5220

~aral Halloway

954 N. 39th St.
ilwaukee, WI 53216-2517

iti of Milwaukee
JUN. 9th St.
ilwaukee, WI 53233-1425

ity of Milwaukee Violations Bureau
) Box 2080
ilwaukee, WI 53201-2080

ammunity Memorial Hospital *
.0. Box 3106
ilwaukee, WI 53201-3106

armers Insurance Group

ayment Processing Center - 27
) Box 55126

yston, MA 02205-5126

United States Attorney's Office
517 E, Wisconsin Ave.

Room 530

Milwaukee, WI 53202-4509

Wisconsin Dept. Of Revenue
Special Procedures Unit
P.O. Box 8902

Madison, WI 53708-8902

Advanced Health Care
3003 W. Good Hope Rd.
Milwaukee, WI 53209-2042

Aurora Advanced Healthcare
PO Box 091700
Milwaukee, WI 53209-8700

Capital Loans
6512 W Capitol Dr
Milwaukee, WI 53216-2038

ya ghegee Rhavever

6160 N Cicero Ave
Chicago, IL 60646-4308

(p) CITIBANK
PO BOX 790034
ST LOUIS MO 63179-0034

(p)CITY OF MILWAUKEE VIOLATIONS BUREAU
PO BOX 346
MILWAUKEE WI 53201-0346

Corporation Service Company

Reg. Agent for TitleMax of Wisconsin Inc
8040 Excelsior Drive, Suite 400

Madison, WI 53717-2915

First Premier Bank
601 S Minnesota Ave,
Sioux Falls, SD 57104-4868

Case 23-20506-kmp Docs _ Filed 02/09/23

United States Attorney, Attention, Michael
Room 530 Federal Courthouse

517 E. Wisconsin Avenue

Milwaukee, WI 53202-4500

AFNI
PO Box 3097
Bloomington, IL 61702-3097

(p) ALLIANCE COLLECTION AGENCIES INC
ATIN CLIENT SERVICES DEPARTMENT

3916 § BUSINESS PARK AVE

MARSHFIELD WI 54449-9029

Best Buy Credit Services*
PO Box 688911
Des Moines, IA 50368-8911

Capital One
PO Box 85064
Richmond, VA 23285-5064

(p) PMORGAN CHASE DANK Wi A
BANKRUPTCY MAIL INTAKE TEAM
700 KANSAS LANE FLOOR 01
MONROE LA 71203-4774

City of Milwaukee Municipal Court
951 North James Lovell Street
Milwaukee, WI 53233-1429

Collect Associates
225 §. Executive Dr,., Suite 250
Brookfield, WI 53005-4257

Enhanced Recovery Corporation
8014 Bayberry Road
Jacksonville, FL 32256-7412

Froedtert & Medical College Physicians
P.O. Box 13308
Milwaukee, WI 53213-0308

Page 5 of 7
roedtert Hospital Geico Casualty Company Hampton Dental Associates SC

) Box 3202 5260 Western Ave. 5323 West Hampton Avenue
ilwaukee, WI 53201-3202 Chevy Chase, MD 20815-3799 Milwaukee, WI 53218-5019
sights Finance Corporation IRS - Milwaukee Office Infectious Disease Specialists
605 W. College Ave. 211 West Wisconsin Avenue PO Box 522

ypleton, WI 54914-4202 M/S 5301 MIL Pewaukee, WI 53072-0522

Milwaukee, WI 53203-2303

afinity Healthcare Physicians Internal Revenue Service Medical College Physicians
) Box 3261 Centralized Insolvency Operation PO Box 13308
ilwaukee, WI 53201-3261 PO Box 7346 Milwaukee, WI 53213-0308

Philadelphia, PA 19101-7346

anomonee Falls Clinic Milwaukee County Child Support Milwaukee Municipal Court
34 W16889 Menomonee Ave, 901 N. 9th St. 951 N. James Lovell St,
anomonee Falls, WI 53051-2810 Room 101 Milwaukee, WI 53233-1429

Milwaukee, WI 53233-1425

mitronics International (p) JEFFERSON CAPITAL SYSTEMS LLC OAC
fo EOS CCA PO BOX 7999 PO Box 371100
) Longwater Dr. SAINT CLOUD MN 56302-7999 Milwaukee, WI 53237-2200

orwell, MA 02061

ffice of the U. S. Trustee ; ' Otte Main Pitiandial whet He laeeegy, (p)PENDRICK CAPITAL PARTNERS LLCi+s:. fr Ths!
7 East Wisconsin Ave. 5901 75th St. ATTN BRIAN WILSON

som 430 Kenosha, WI 53142-3636 8902 OTIS AVE

ilwaukee, WI 53202-4510 SUITE 111A

INDIANAPOLIS IN 46216-1077

ick N. Save ProHealth Care Medical Associates Professional Placement Services
3549 W. National Ave. P.O. Box 409 PO Box 612

2w Berlin, WI 53151-5167 Menomonee Falls, WI 53052-0409 Milwaukee, WI 53201-0612
cogressive Insurance Rooter Sewer Cleaners Sallie Mae

) Box 31260 c/o Atty. Gary Shultis P.0, Box 9500

ampa, FL 33631-3260 104 Crestwood Dr. Wilkes Barre, PA 18773-9500

Waukesha, WI 53188-4510

secialized Loan Servicing Sprint The Home Depot

200 S$. Quebec Street PO Box 1954 PO Box 9001010

aglewood, CO 80111-4720 Southgate, MI 48195-0954 Louisville, KY 40290-1010
ie Payday Loan Store TitleMax of Wisconsin, Inc. TitleMax of Wisconsin, Inc.
341 S, Business Dr. 15 Bull Street, Suite 200 7250 N. 76th Street
aeboygan, WI 53081-6527 Savannah, GA 31401-2686 Milwaukee, WI 53223-4502

Case 23-20506-kmp Docs _ Filed 02/09/23 Page 6of7
aiversity of Phoenix
30 Cross Pointe Rd., Suite G
plumbus, OH 43230

aukesha County Circuit Court
[5 W. Moreland Blvd.
aukesha, WI 53188-2428

211s Fargo
) Box 1697
interville, NC 28590-1697

isconsin Urgent Care
) Box 26428
ilwaukee, WI 53226-0428

jam L Lombardo

ombardo Law Office

230 South 108th Street
ilwaukee, WI 53227-1168

VIP Loan Shop

c/o Northern Resolution Group, LLC

PO Box 566
Amherst, NY 14226-0566

We Energies
231 W. Michigan St.
Milwaukee, WI 53203-2918

Wisconsin Electric Power Co.

231 W. Michigan St.
Milwaukee, WI 53203-2918

Zales

c/o CBNA

PO Box 6497

Sioux Falls, SD 57117-6497

Scott Lieske

Chapter 13 Trustee

P.O. Box 510920
Milwaukee, WI 53203-0161

WI SCTF
PO Box 07914
Milwaukee, WI 53207-0914

We Energies

333 West Everett

PO Box 2046

Milwaukee, WI 53201-2046

Wisconsin Radiology
PO Box 371100
Milwaukee, WI 53237-2200

Zita M Cooper-Hoskins
4251 N 22nd street
Milwaukee, WI 53209-6715

Sean T Hoskins
4131 N 68 Street
Milwaukee, WI 53216-1170

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g) (4).

Lliance Collection Agency
916 South Business Park Avenue
arshfield, WI 54449

ity of Milwaukee Violations Bureau*
stention: Sacara Jones

) Box 346

ilwaukee, WI 53201-0346

Chase Auto Finance
PO Box 901003
Fort Worth, TX 76101

Most Funding II LLC

c/o Jefferson Capital Systems LLC

PO Box 7999
Saint Cloud, MN 56302

Citibank SD, NA
PO Box 20363
Kansas City, MO 64195-0363

Pendrick Capital Partners
6029 Ridge Ford Dr.
Burke, VA 22015

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

j)Wisconsin Department of Revenue
gecial Procedures Unit

) Box 8901

adison, WI 53708-8901

Case 23-20506-kmp Docs _ Filed 02/09/23

End of Label Matrix

Mailable recipients 74
Bypassed recipients 1
Total 15

Page 7 of 7
